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                                                                                        Scoped Digital Evidence 1 of 5


       Juli Haller <hallerjulia@outlook.com>                                                                    2/9/2022 7:00 AM

       RE: U.S. v. Caldwell - Additional Scoped Digital Evidence
       To Rakoczy, Kathryn (USADC) <kathryn.rakoczy@usdoj.gov> • Carmen D. Hernandez <chernan7@aol.com> •
       Charles Greene <cmg@cmgpa.com> • Gene Rossi <grossi@carltonfields.com> • J Talbot <jtalbot@cmgpa.com> •
       Jessica Ettinger <jessica_ettinger@fd.org> • John Machado <johnlmachado@gmail.com> •
       Joshua Uller <joshua_uller@fd.org> • Natalie Napierala <nnapierala@carltonfields.com> •
       Peter Cooper <pcooper@petercooperlaw.com> • Stanley Woodward <stanley@brandwoodwardlaw.com> •
       Steve Brennwald <sfbrennwald@cs.com> • Edward MacMahon <ebmjr@macmahon-law.com> •
       Tommy Spina <tommy@tommyspina.com> • A.J. Balbo <aj@balbogregg.com> •
       Alfred Guillame III <ag3law@gmail.com> • angiehalim@gmail.com <angiehalim@gmail.com> •
       Brad Geyer <bradford.geyer@formerfedsgroup.com> • Chris Leibig <chris@chrisleibiglaw.com> •
       David Fischer <fischerandputzi@hotmail.com> • Jonathan Crisp <jcrisp@crisplegal.com> •
       Jonathan Moseley <contact@jonmoseley.com> • Joni Robin <joni@jonirobinlaw.com> •
       Lee Bright <jlbright@gmail.com> • Matthew J. Peed <matt@clintonpeed.com> •
       Phillip Linder 1 <phillip@thelinderfirm.com> • Phillip Linder 2 <attorneylinder@gmail.com> •
       Scott Weinberg <scott@bsrlegal.com> Copy Nestler, Jeffrey (USADC) <jeffrey.nestler@usdoj.gov> •
       Edwards, Troy (USADC) <troy.edwards@usdoj.gov> • Baset, Ahmed (USADC) <ahmed.baset@usdoj.gov> •
       Manzo, Louis (CRM) <louis.manzo@usdoj.gov> • Hughes, Alexandra (NSD) <alexandra.hughes@usdoj.gov> •
       Sher, Justin (NSD) <justin.sher@usdoj.gov>




https://webmail.networksolutionsemail.com/appsuite/v=7.10.2-26.20220124.233335/print.html?print_1649849426049                      1/5
4/13/22, 7:30 AM    Case 1:22-cr-00015-APM          Document
                                    Network Solutions RE_ U_S_ v_ 85-5       Filed 04/13/22
                                                                  Caldwell - Additional                 Page Printout
                                                                                        Scoped Digital Evidence 2 of 5




            Hi Kate and defense counsel,

            Has anyone tried to download this production? - nearly all of the Stewart Rhodes labelled information, I simple
            can’t open within USA-fx or download. I successfully downloaded the excel summary spreadsheet, but nothing
            that is saved as Rhodes, except one pdf. Is this something I can forward to a computer IT assistant, who can
            sign the P.O.? If so, what is the process?

            Thank you for your assistance!

            Best,

            Juli

            From: Rakoczy, Kathryn (USADC) <Kathryn.Rakoczy@usdoj.gov>
            Sent: Tuesday, February 8, 2022 4:53 PM
            To: Carmen D. Hernandez <chernan7@aol.com>; Charles Greene <cmg@cmgpa.com>; Gene Rossi
            <GRossi@carltonfields.com>; J Talbot <Jtalbot@cmgpa.com>; Jessica Ettinger <Jessica_Ettinger@fd.org>; John
            Machado <johnlmachado@gmail.com>; Joshua Uller <joshua_uller@fd.org>; Juli Haller
            <hallerjulia@outlook.com>; Natalie Napierala <nnapierala@carltonfields.com>; Peter Cooper
            <pcooper@petercooperlaw.com>; Stanley Woodward <stanley@brandwoodwardlaw.com>; Steve Brennwald
            <sfbrennwald@cs.com>; Edward MacMahon <ebmjr@macmahon-law.com>; Tommy Spina
            <tommy@tommyspina.com>; A.J. Balbo <aj@balbogregg.com>; Alfred Guillame III <ag3law@gmail.com>;
            angiehalim@gmail.com; Brad Geyer <bradford.geyer@formerfedsgroup.com>; Chris Leibig
            <chris@chrisleibiglaw.com>; David Fischer <fischerandputzi@hotmail.com>; Jonathan Crisp
            <jcrisp@crisplegal.com>; Jonathan Moseley <contact@jonmoseley.com>; Joni Robin <joni@jonirobinlaw.com>;
            Lee Bright <jlbright@gmail.com>; Matthew J. Peed <matt@clintonpeed.com>; Phillip Linder 1
            <phillip@thelinderfirm.com>; Phillip Linder 2 <attorneylinder@gmail.com>; Scott Weinberg
            <Scott@bsrlegal.com>
            Cc: Nestler, Jeffrey (USADC) <Jeffrey.Nestler@usdoj.gov>; Edwards, Troy (USADC) <Troy.Edwards@usdoj.gov>;
            Baset, Ahmed (USADC) <Ahmed.Baset@usdoj.gov>; Manzo, Louis (CRM) <Louis.Manzo@usdoj.gov>; Hughes,
            Alexandra (NSD) <Alexandra.Hughes@usdoj.gov>; Sher, Justin (NSD) <Justin.Sher@usdoj.gov>
            Subject: RE: U.S. v. Caldwell - Additional Scoped Digital Evidence

            Dear Counsel:

            We write with some updates regarding the scoping of the data retrieved from your clients’ digital devices and
            accounts:
                  Mr. Walden – The government completed its review of Items 1B2, 1B3, and 1B4, and nothing was seized
                  (I do not believe they were able to access the data on 1B4);
                  Mr. Ulrich – The government has completed its review of Items 1B3 and 1B5;
                  Mr. Rhodes – The government has completed its review of a Google account, 1B7;
                  Mr. Beeks – The government has completed its review of Items 1B6, 1B9, 1B11, and 1B13. I believe there
                  remains one Apple iPhone, one Silver Apple Laptop Model A2251, one Lacie Hard Drive, and one iCloud
                  account for which we still need to provide you scoped data.

            We have uploaded the new scoped data sets for Mr. Ulrich’s, Mr. Beeks’, and Mr. Rhodes’ devices/accounts to
            USAfx, in the Highly Sensitive Discovery Folder 5, here:
            https://usafx.box.com/s/q12f5cz4natumqqyjqlyft80ozt2uagd. We will also include these materials on the


https://webmail.networksolutionsemail.com/appsuite/v=7.10.2-26.20220124.233335/print.html?print_1649849426049                 2/5
4/13/22, 7:30 AM    Case 1:22-cr-00015-APM          Document
                                    Network Solutions RE_ U_S_ v_ 85-5       Filed 04/13/22
                                                                  Caldwell - Additional                 Page Printout
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            thumb drives of all defendants’ scoped devices/accounts, which we will send out as soon as we complete the
            review of these devices, so that you have all of the charged defendants’ scoped devices/accounts in one place.

            Attached is a spreadsheet listing all the scoped devices/accounts for which you should have data at this time.
            Let us know if you have any questions or concerns.

            Thank you,
            Kate Rakoczy

            Kathryn L. Rakoczy
            Assistant United States Attorney
            United States Attorney’s Office
            555 Fourth Street, N.W., Room 5239
            Washington, D.C. 20530
            (202) 252-6928 (office phone)
            (202) 740-3245 (cell phone)
            Kathryn.Rakoczy@usdoj.gov

            From: Rakoczy, Kathryn (USADC)
            Sent: Monday, January 10, 2022 2:35 PM
            To: A.J. Balbo <aj@balbogregg.com>; Alfred Guillame III <ag3law@gmail.com>; angiehalim@gmail.com; Brad
            Geyer <bradford.geyer@formerfedsgroup.com>; Carmen D. Hernandez <chernan7@aol.com>; Charles Greene
            <cmg@cmgpa.com>; Chris Leibig <chris@chrisleibiglaw.com>; David Fischer <fischerandputzi@hotmail.com>;
            Edward MacMahon <ebmjr@macmahon-law.com>; Gene Rossi <GRossi@carltonfields.com>; J Talbot
            <Jtalbot@cmgpa.com>; John Machado <johnlmachado@gmail.com>; Jonathan Moseley
            <contact@jonmoseley.com>; Joni Robin <joni@jonirobinlaw.com>; Joshua Uller <joshua_uller@fd.org>; Juli
            Haller <hallerjulia@outlook.com>; Natalie Napierala <nnapierala@carltonfields.com>; Peter Cooper
            <pcooper@petercooperlaw.com>; Scott Weinberg <Scott@bsrlegal.com>; Shelli Peterson
            <Shelli_Peterson@fd.org>; Stanley Woodward <stanley@brandwoodwardlaw.com>; Steve Brennwald
            <sfbrennwald@cs.com>; Tommy Spina <tommy@tommyspina.com>
            Cc: Nestler, Jeffrey (USADC) <JNestler1@usa.doj.gov>; Edwards, Troy (USADC) <TEdwards1@usa.doj.gov>;
            Baset, Ahmed (USADC) <ABASET2@usa.doj.gov>; Manzo, Louis (CRM) <Louis.Manzo@usdoj.gov>; Hughes,
            Alexandra (NSD) <Alexandra.Hughes@usdoj.gov>; Sher, Justin (NSD) <Justin.Sher@usdoj.gov>
            Subject: RE: U.S. v. Caldwell - Additional Scoped Digital Evidence

            Dear Counsel,

            I am writing to clarify an error in my description of the “Additional Scoped Digital Evidence” provided to you on
            December 21, 2021. I erroneously listed Item 11 on the list, or FBI Evidence Item 1B9 from the Stewart Rhodes
            case file, as “(U) Apple iPhone 12 PRO MAX GRPHT 256GB VER-USA, IMEI 350777732502546, S/N
            G0NDVGPV0D43 associated with phone number 406-291-6558 with a black case.” Item 1B9 actually contains
            the scoped data provided by Apple in response to a search warrant seeking data from the accounts of Mr.
            Rhodes, Mr. Parker, and Ms. Parker (we applied for all three accounts in one warrant, as documented in the
            attached copy of the warrant, and for some reason Apple provided the data for all three accounts in one data
            dump).

            FBI Item 1B8 is the scoped data for Mr. Rhodes’ phone, the Apple iPhone 12 PRO MAX GRPHT 256GB VER-USA,
            IMEI 350777732502546, S/N G0NDVGPV0D43 associated with phone number 406-291-6558 with a black case.
            That scoped return is ready to be provided to you all in discovery, but it is about 43GB large, so I will place it on


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4/13/22, 7:30 AM    Case 1:22-cr-00015-APM          Document
                                    Network Solutions RE_ U_S_ v_ 85-5       Filed 04/13/22
                                                                  Caldwell - Additional                 Page Printout
                                                                                        Scoped Digital Evidence 4 of 5




            a thumb drive, along with all of the other scoped returns, so you have them all in one place. I’ll work on getting
            these drives sent out this week.

            At this point, the only outstanding search warrant returns for the currently charged defendants are:

                Defendant
                  Name            Item Number        Case UCFN                 Description
                                                                               All devices seized from Mr. Beeks are
              James Beeks                                                      still pending review.
                                                                               (U) Item 4 - One X-Box 360 with s/n
                                                                               033722494407, 120 gb hard disk drive
                   Walden         1B4                266O-BH-3430673           with plug
                                                                               (U) Item 3 - One Seagate FreeAgent
                                                                               Desk Top external hard drive with s/n
                   Walden         1B3                266O-BH-3430673           9QE1H6FK and plug
                                                                               (U) Item 2 - One Apple MacBook model
                                                                               A1369, s/n C02DX1GCDDR3 with
                 Walden           1B2                266O-BH-3430673           charger
               Brian Ulrich       1B5                176-AT-3405626            (U) HP Elite Book 820
                                                                               (U) HP laptop Probook 640G5, serial
               Brian Ulrich       1B3                176-AT-3405626            number: 5CG938C3V3 and power cord

            (I am also attaching here an updated spreadsheet of evidence, for your records.)

            Thank you,
            Kate Rakoczy

            Kathryn L. Rakoczy
            Assistant United States Attorney
            United States Attorney’s Office
            555 Fourth Street, N.W., Room 5239
            Washington, D.C. 20530
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            Kathryn.Rakoczy@usdoj.gov

            From: Rakoczy, Kathryn (USADC)
            Sent: Tuesday, December 21, 2021 2:14 PM
            To: A.J. Balbo <aj@balbogregg.com>; Alfred Guillame III <ag3law@gmail.com>; angiehalim@gmail.com; Brad
            Geyer <bradford.geyer@formerfedsgroup.com>; Carmen D. Hernandez <chernan7@aol.com>; Charles Greene
            <cmg@cmgpa.com>; Chris Leibig <chris@chrisleibiglaw.com>; David Fischer <fischerandputzi@hotmail.com>;
            Edward MacMahon <ebmjr@macmahon-law.com>; Gene Rossi <GRossi@carltonfields.com>; J Talbot
            <Jtalbot@cmgpa.com>; John Machado <johnlmachado@gmail.com>; Jonathan Moseley
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            <Shelli_Peterson@fd.org>; Stanley Woodward <stanley@brandwoodwardlaw.com>; Steve Brennwald
            <sfbrennwald@cs.com>; Tommy Spina <tommy@tommyspina.com>


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                                                                                        Scoped Digital Evidence 5 of 5




            Cc: Nestler, Jeffrey (USADC) <JNestler1@usa.doj.gov>; Edwards, Troy (USADC) <TEdwards1@usa.doj.gov>;
            Baset, Ahmed (USADC) <ABASET2@usa.doj.gov>; Manzo, Louis (CRM) <Louis.Manzo@usdoj.gov>; Hughes,
            Alexandra (NSD) <Alexandra.Hughes@usdoj.gov>; Sher, Justin (NSD) <Justin.Sher@usdoj.gov>
            Subject: U.S. v. Caldwell - Additional Scoped Digital Evidence

            Dear Counsel:

            As documented in the attached letter, we are providing you with some additional scoped digital evidence search
            warrant returns. They are under Highly Sensitive Discovery Folder 6 – Additional Scoped SW Returns (Digital
            Evidence): https://usafx.box.com/s/ga2erpngvthtvonmqkvwai67enue0wj9. Despite the name of the folder,
            since these returns all contain scoped/seized data, we are not placing any sensitivity classification on the data
            EXCEPT that where personal identifying information (“PII”) is provided or uncharged subjects are named, we ask
            that you treat that information as “sensitive” and not place this information in any public filings. If this is a
            problem please feel free to contact us and we can discuss further.

            As explained in greater detail in the letter, we are now almost done with the scoping of all of your clients’
            devices.

            As always, let us know if you have any questions or concerns about this discovery.

            We wish you a very happy holiday season, and safe travels to those visiting family and friends!

            Take care,
            Kate

            Kathryn L. Rakoczy
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            United States Attorney’s Office
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